                                       Case 4:21-cr-00544-JCH-LCK Document
                                                            CRIMINAL       1 Filed 12/30/20 Page 1 of 1
                                                                     COMPLAINT
                                                                           (Electronically Submitted)
                                                                                                        DISTRICT of ARIZONA
                               United States District Court
                                                                                                        DOCKET NO.

                                            United States of America
                                                       v.                                               MAGISTRATE'S CASE NO.
                                           Jason Nathaniel Barragan
                                         DOB: 1995; United States Citizen                                      20-03174MJ

                                                       Complaint for violation of Title 18, United States Code, Section 554(a)
       COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

       On or about May 14, 2020, in the District of Arizona, Jason Nathaniel Barragan knowingly and fraudulently exported
       and sent from the United States, and attempted to export and send from the United States, any merchandise, article, or
       object contrary to any law or regulation of the United States, and received, concealed, bought, sold, and in any manner
       facilitated the transportation, concealment, and sale of such merchandise, article or object, that is: 4,000 rounds of .38
       Super caliber ammunition; knowing the same to be intended for exportation contrary to any law or regulation of the
       United States, to wit: Title 50, United States Code, Section 4819; Title 15, Code of Federal Regulations, Part 774; and
       Title 15, Code of Federal Regulations, Part 738; in violation of Title 18, United States Code, Section 554(a).



       BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

       On May 14, 2020, Jason Nathaniel Barragan acquired 4,000 rounds of .38 Super caliber ammunition from a residence
       in Tucson, Arizona. He then provided the ammunition to another individual, who had been directed by an associate
       in Mexico to obtain the ammunition from Barragan and deliver it to a third individual in Rio Rico, Arizona. Pursuant
       to the directions from the associate in Mexico, this third individual would smuggle the ammunition into Mexico.
       Barragan knew that the ammunition he acquired and transferred was intended to ultimately be smuggled into Mexico.

       The ammunition which Barragan received, transported, and transferred to another individual in facilitation of the
       smuggling offense qualifies as United States Commerce Control List items and therefore is prohibited by law for
       export from the United States into Mexico without a valid license. Neither Barragan nor any other individual involved
       in the smuggling offense had a license or any other lawful authority to export the ammunition from the United States
       into Mexico.

       MATERIAL WITNESSES IN RELATION TO THE CHARGE: N/A
       DETENTION REQUESTED                                                                              SIGNATURE OF COMPLAINANT
                                                                                                                                 Digitally signed by CLINTON P
         Being duly sworn, I declare that the foregoing is                                              CLINTON P FORTE FORTE
         true and correct to the best of my knowledge.                                                                           Date: 2020.12.29 18:05:19 -07'00'
                                          Digitally signed by ANGELA                                    OFFICIAL TITLE
       ANGELA WOOLRIDGE WOOLRIDGE                                                                       HSI Special Agent Clinton Forte
                                          Date: 2020.12.29 16:31:21 -07'00'
       AUTHORIZED AUSA Angela W. Woolridge
          Sworn by telephone _x
       SIGNATURE OF MAGISTRATE JUDGE1)                                                                  DATE
                                                                                                        December 30, 2020


1)
     See Federal rules of Criminal Procedure Rules 3, 4.1, and 54

      CC: USM, AUSA, PTS
